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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


 UNITED STATES OF AMERICA,                      CR 20-83-BLG-SPW-TJC

                    Plaintiff,
                                            ORDER ADOPTING FINDINGS
        vs.                                   AND RECOMMENDATIONS

 DR.RONALD M. BUSS,

                    Defendant.


      Defendant appeared before U.S. Magistrate Judge Timothy J. Cavan in open

court on October 1, 2020 for purposes of an initial appearance, arraignment and

change of plea hearing. United States Magistrate Judge Timothy J. Cavan entered

Findings and Recommendation in this matter on October 1, 2020(Doc. 17). No

objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 17)are ADOPTED IN FULL.

      On October 2, 2020,this Court referred the above-captioned case to

Magistrate Judge Timothy J. Cavan for purposes ofscheduling and conducting the

sentencing in this matter(Doc. 18). This case is now ready to be set for sentencing

before Magistrate Judge Timothy J. Cavan.
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